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                    Case 8:21-cr-00124-JLS UNITED STATES
                                            Document     DISTRICT
                                                     3 Filed      COURT
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                                          CENTRAL DISTRICT OF CALIFORNIA
                                                               CASE SUMMARY

INTERPRETER                                                                 CUSTODY STATUS
Is an interpreter required?         YES        ✔   NO                         Defendant is not in custody:
IF YES, list language and/or dialect:                                         a. Date and time of arrest on complaint: N/A
                                                                              b. Posted bond at complaint level on:
                                                                                   in the amount of $
OTHER                                                                                                                No
                                                                              c. PSA supervision?          Yes
 ✔   Male                 Female                                              d. Is on bail or release from another district:
     U.S. Citizen     ✔   Alien
Alias Name(s)                                                                 Defendant is in custody:
                                                                              a. Place of incarceration:         State        Federal
This defendant is charged in:                                                 b. Name of Institution: N/A
     ✔ All counts                                                             c. If Federal, U.S. Marshals Service Registration Number:
         Only counts:
                                                                              d.      Solely on this charge. Date and time of arrest:
     This defendant is designated as "High Risk" per
     18 USC § 3146(a)(2) by the U.S. Attorney.                                e. On another conviction:             Yes                 No
     This defendant is designated as "Special Case" per
                                                                                    IF YES :     State              Federal             Writ of Issue
     18 USC § 3166(b)(7).
                                            Yes     ✔   No                    f. Awaiting trial on other charges:         Yes           No
Is defendant a juvenile?
IF YES, should matter be sealed?            Yes         No                          IF YES :     State       Federal      AND
                                                                                   Name of Court:
The area(s) of substantive law that will be involved in this case
                                                                                   Date transferred to federal custody:
include(s):
    financial institution fraud           public corruption                   This person/proceeding is transferred from another district
                                                                              pursuant to F.R.Cr.P.         20             21             40
     government fraud                        tax offenses
     environmental issues               ✔    mail/wire fraud
     narcotics offenses                      immigration offenses
     violent crimes/firearms                 corporate fraud
✔    Other      -BVOEFSJOH .POFUBSZ *OTUSVNFOUT




EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN:




                                                                            /s/ Melissa S. Rabbani
            Date      07/02/2021
                                                                            Signature of Assistant U.S. Attorney
                                                                            Melissa S. Rabbani
                                                                            Print Name
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